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                                             Case No: 19-16323


                     THE UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT COURT
       ---------------------------------------------------------------------------------
                                               Rakesh Dhingra,
                                              Petitioner-Appellant,

                                                                v.


                                           U.S.A.
                                 Respondent-Appellee,
       ---------------------------------------------------------------------------------
       ON APPEAL FROM THE ORDER OF UNITED STATES
        DISTRICT COURT FOR THE NORTHERN DISTRICT
          OF CALIFORNIA, Oakland Division, JULY 01, 2019
                                  (01-CR-40144 SBA)
       ---------------------------------------------------------------------------------

                APPELLANT’S STATEMENT OF EVIDENCE
       UNDER CIRCUIT RULE 10 (c) AND SUPPLEMENTAL
      STATEMENT OF ISSUES TO BE RAISED ON APPEAL
        ---------------------------------------------------------------------------------------------------------------------

                                              Rakesh Dhingra, Appellant, in Pro Se
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       Pursuant to Circuit Rules 10(c) and 10(b)(3)(A), Appellant prepares this
statement of evidence and statement of issues. These issues would be raised on
appeal, for which the District Court did not hold a hearing and no transcripts are
available, except for the Court Order denying the Petition (Dkt. 160, Exhibit C).


       The only opportunity for a hearing on the new discoveries came up on June
12, 2019 schedules at 1:00 pm, first scheduled after Appellant had filed his Petition
for Writ of Error Coram Nobis (Dkt. 154). This hearing was vacated by the Trial
Court with the following Clerk’s Notice,


Document Number: 159 (No document attached)

Docket Text:
CLERK'S NOTICE as to Rakesh Dhingra. The Court finds that the Motions [140],
[154], are appropriate for resolution without oral argument. Accordingly, the
6/12/2019 hearing is vacated and the Court will issue a written ruling. (This is a
text-only entry generated by the court. There is no document associated with this
entry.) (dtmS, COURT STAFF) (Filed on 6/11/2019)


                              STATEMENT OF EVIDENCE
       The following are the Statement of Evidence, with “errors of fact”:
   A. The newly discovered entity, “FBI Cyber Squad” - was led by Agent
       Esposito who was also the lead investigator from FBI (“Federal Bureau of
       Investigation”) in this case at district court, while posing as a minor, engaged
       in sexually explicit conversations with Appellant on cyberspace (America
       Online, “AOL”); discussed sexual acts and arranged to meet in person. During
       the court proceedings, Agent Esposito committed perjury and obstruction of



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         justice when he denied his or his FBI Cyber Squads’ undercover operations
         for the instant case, while, in fact, he was leading an “FBI Cyber Squad” in
         the San Francisco Bay Area during July 2000. This evidence is newly
         discovered. Agent Esposito only admitted that he had been involved in
         undercover operation posing as a minor, in his prior assignments. These new
         facts constitute “errors of fact” proving that there was no “real minor” in this
         instant case as required by the indictment against Appellant (see Exhibit A),
         (see Exhibit C, Order denying Petition, 2:9-16, 6:1-8).


      B. A decoy minor and an adult investigator, Ms. Eliina Belenkiy – was used
         by ‘FBI Cyber Squad’, for the purpose of investigating the appellant after
         scheduling three meetings on cyberspace, is also newly discovered. There was
         no ‘State of mind’ or intent to have sexual activity with purported minor, Ms.
         Belenkiy in this case, because Appellant had “stood up” or rejected to meet
         with Ms. Belenkiy twice1, now also known to be an adult investigator for FBI
         Cyber Squad. This proves the mens rea, i.e. appellant did not “knowingly
         sought sexual activity with a minor...” as stated in the indictment, even though
         he did sexually chat with the stated age of a 14 yr. old, FBI Cyber Squad
         Agent. Appellant decided to investigate on his own after the FBI Cyber Squad
         persistently persuaded the appellant for a third meeting with Ms. Belenkiy.
         (See Dkt. 154-1, Declaration for Writ of Error Coram Nobis, Exhibit B).
         -----------
1
    The FBI Cyber Squad scheduled 2 meetings were rejected by Appellant, for which
proof or evidence is available in the transcripts (Dkt. 154-2, Exhibit L; Dkt. 154-1,
Declaration of Petitioner, attached as Exhibit B). This evidence is not new and only
presented to show the association between newly discovered entity ‘FBI Cyber’
Squad and the newly discovered adult investigator, Ms. Belenkiy.

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      STATEMENT OF ISSUES TO BE RAISED ON APPEAL for claiming the
relief, Writ of Error Coram Nobis on appeal, pursuant to Circuit Rule 10(b)(3)(A),
appellant intends to present these issues on appeal pursuant to new discoveries:


      A. New Discovery - Petitioner’s sexual chat with FBI Cyber Squad in
         cyberspace
         During June-July 2000, Petitioner randomly contacted many people on
Cyberspace on America OnLine (“AOL”). The FBI Report stated that there were
891 texts of adult conversations found on Petitioner’s laptop. One of them, with a
username, “Doubt133” who said she was a female, but did not state in her profile a
minor. Petitioner continued to chat with this female along with other several AOL
members, even after being told that she is representing her age as close to 15 years
but did not justify the communication that conformed to that age. From recent
discoveries, it has been determined that this person was an FBI Cyber Squad
investigator and a decoy minor, with aptly named chat username as “Doubt133”.


      B. Petitioner continued to chat sexually with FBI Cyber Squad
         Petitioner had a reason to continue chatting with the “person” who was lying
about her age or was just being mysterious. This has now been proven true recently,
that this minor was none other than, FBI Cyber Squad Agent, Charles (“Chuck”) J.
Esposito who was instrumental in obtaining the frivolous indictment from Grand
Jury against Petitioner. FBI Cyber Squad used a field investigator, Ms. Eliina
Belenkiy1 for meeting purposes. FBI Cyber Squad and prosecutors (US Attorneys)
-------------
1
    This brief refrains from hiding the identity of undercover investigator, Ms. Eliina
Belenkiy. The Trial Court’s order, Dkt. 160 changes Ms. Belenkiy’s identity yet
again, to another name, “E”, continuing to fictitiously depict her as a victim

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decided to have Ms. Eliina Belenkiy commit perjury after her identity was changed,
from an adult investigator to a minor via the Witness Security program, for the
purposes of lying in the Trial Court. (See Dkt. 154, Petition, 11:7-14, Declaration of
Petitioner || 4-26).



   C. New Discovery or a Legal Error by Trial Court - Mere sexual chat with
        minor in cyberspace is not a federal crime
        The FBI Cyber Squad Agent, posing as a female minor, and who had been in
conversation with the Petitioner stated multiple times that she was 14 years old,
username or chat handle of “doubt133”. Unable to verify this information on
cyberspace, Petitioner just nodded or acknowledged this information about her age
on cyberspace, but still continued chatting. This conduct is not a federal crime under
any federal law, including 18 USC 2422 (b), even with a sexual chat because there
needs to be mens rea or ‘state of mind’ for the conduct that should be translated in
real world. This conduct was missing, proved by twice rejection of the scheduled
meeting with Ms. Belenkiy or “doubt133” or what is now known as FBI Cyber
Squad. (See Dkt. 154, Declaration of Petitioner || 9-17).
        The statement provided by US Attorneys’ in their brief with statement “That
meeting did not occur RT (475)”, demonstrates that Petitioner did not have the state
of mind or intent to carry out an “act of persuasion”. (See Dkt. 154, Exhibits, Exhibit
D). The offense of the “act of persuasion” by Petitioner never occurred in this instant
case.

        The Ninth Circuit has yet to make a ruling on a defendant who only contacts
a minor without any mens rea or intent to carry out the sexual activity discussed in
cyberspace. Other sister circuits have already done so.




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United States v. Root, 296 F.3d 1222, 1230 (11th Cir. 2002) “Mere contact… for
the purposes of engaging in illegal sexual activity – that is not criminalized in 18
USC §2422 (b).


United States v. Lee, 603 F.3d 904, 914 (11th Cir, 2011) which states ““To prove
the requisite intent under 18 USC §2422 (b), “the government must prove that the
defendant intended to cause assent on the part of the minor, not that he acted with
the specific intent to engage in sexual activity.”
        Criminalizing an intent to engage in illicit sex is proscribed in 18 USC §2423,
and not in 18 USC §2422 (b). The proposed §2422 (c) was rejected by Congress
because, inter alia: “As passed by the House, H.R. 3494 would make it a crime
punishable by up to 5 years’ imprisonment, to do nothing more than ‘contact’ a
minor, or even just attempt to contact a minor, for purpose of engaging in sexual
activity.

        The incompetent Defense Attorneys in this instant case were of the opinion,
or made to believe by US Attorneys and a judicially biased trial court that mere
sexual chat by Petitioner with any minor (fictitious or real) can cause a violation of
18 USC §2422 (b). (See Dkt. 154, Exhibits, Exhibit D). The Trial Courts expresses
the same views.
       The trial court states in its Order, (Dkt. 160 Order, 2:1-3), “Petitioner and the
girl engaged in extensive IM conversations revolving around sexual topics. As the
conversations progressed, they discussed in increasingly explicit detail the sex acts
they planned to perform on each other when they met. The trial court, in its blind
justice or judicial prejudice for the FBI Cyber Squad fails to note repeatedly that this
sexual talk, was merely a talk, but without any actions. The real action was a
rejection or “standing up” of Ms. Belenkiy twice. This is depicted in Exhibit L and



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Exhibit D, Dkt. 154-2. These exhibits, attached with the Petition (Dkt. 154) is the
actual stated action, contrary to what is said on cyberspace. Therefore, what was said
on cyberspace, is not what was acted on by the Petitioner when he rejected the
meetings by FBI Cyber Squad. This also proves that any one of the real or fictitious
minor could not have been persuaded, enticed or induced by the Petitioner for a
violation of 18 USC 2422 (b), either in reality or by attempt, because there was no
mens rea, or state of mind to carry out the stated conversation in cyberspace. This
was already termed or called “a fantasy” in one of the AOL message by the Petitioner
to the FBI Cyber Squad.



   D. No reason for Petitioner to provide personal information to a stranger on
       cyberspace
       When “doubt133” asked Petitioner his age, he told her that his age was 27, an
arbitrarily picked number. (Order, Dkt. 160, 1: 22-25). This was because he did not
know who he was talking to and did not want to give out personal information to
someone he did not know. This action is similar to redaction of personal and
financial information (address, phone number, date of birth, etc.) that is now
commonly done in federal pleadings. Redaction is done instead of providing wrong
or invalid information in federal pleadings. The Trial Court Order makes a big deal
out of such lying of his age by Petitioner, and on the other hand, does not care about
the perjury and frivolous indictment by FBI Cyber Squad with a decoy minor.


   E. New Discovery - Purported minor was a field investigator for FBI Squad
       In this instance case, neither Petitioner not the FBI Cyber Squad were able to
authenticate or verify each other identities on cyberspace. Here, there was




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information presented but could not be verified as authentic. Indeed, new discoveries
after years of investigation show that information presented was false.
       While FBI Cyber Squad was trying to act like a bouncer, saying that he or she
was a minor, and that Petitioner should “bounce off”. However, Petitioner did not
believe what was said, and therefore, was challenged during the entire conversation.
There was no way to verify this information unless the parties met physically. This
challenge does not show in the written conversations at “AOL” chat messaging
between the two parties, because it has subtle undertone to it, and it is something
that cannot be read on AOL chat messages.


   F. Recent Discovery shows “Error of Facts” of most fundamental character
       There are “error of facts” that were committed or even planned before the
indictment was issued against the Petitioner in this case. These errors discovered
provides evidence of manipulated fabricated facts such that those facts in error
would conform to the indictment issued making it a frivolous indictment:


   1. Error of Fact #1 – FBI Cyber Squad made sure that Petitioner is not able to
       verify or authenticate later or forever that he had been messaging with
       someone who was an adult FBI Agent, except for the trial court and US
       Attorneys. Similarly, they made sure that no one ever discovers that Ms.
       Belenkiy was an investigator working for the FBI, except for a few insiders in
       FBI Cyber Squad. This is because WITSEC program of the US Marshal
       Service is so secretive that it is almost impossible to discover their workings.
       The only reason Petitioner has been able to discover these highly secretive
       information, is because both Ms. Belenkiy and Agent, Esposito have been
       careless on cyberspace. They have recently been broadcasting their
       achievements and workings.

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               Just because anyone can state anything on cyberspace, however fake or
       false that information can be; it cannot be proven that the messages exchanged
       on cyberspace are “knowingly” and factually true or it could be “knowingly”
       verifiable and authenticated information. Therefore “knowingly” is not
       something that can be applicable to cyberspace information, that too from a
       stranger that Petitioner or anyone for that matter could rely on. Reno v.
       ACLU, 21 US 844, 901 (1997).
               The recent discoveries have been unfolded recently and an old mystery
       was solved that Petitioner was not even messaging the recently discovered
       adult woman, Ms. Belenkiy, mentioned in the indictment or with anyone who
       had not attained the age of 18 years. From a preponderance of evidence, it can
       be concluded that perjury and obstruction of justice was conducted, in federal
       proceedings for the underlying criminal case. New discoveries show that
       messages were exchanged with the newly discovered entity, “FBI Cyber
       Squad” Agent(s). Therefore, Petitioner did not or cannot have “knowingly”
       persuaded, enticed and induced anyone who had not attained 18 years of age,
       based on the false information relayed on cyberspace.


   2. Error of fact #2 - There was no minor at any stage of this case as alleged in
       the indictment (“…knowingly persuaded, enticed and induced an individual
       who had not attained the age of 18 years of age…”), at any time during the
       conversations alleged to have taken place on cyberspace. Based on conversed
       messages, Petitioner had suspected before that the person he was messaging
       with was not a minor or 18 years of age on cyberspace or at the meeting on
       July 10, 2000. Having no proof of this suspicion at the time, this avenue was
       not pursued further, even when he contemplated in a motion to the Court that
       such matter may be pursued. The proof of no minor present in cyberspace for

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       which the indictment is alleged, and that Ms. Belenkiy’s identity was changed
       to make her a minor, is now evident in Exhibits gathered.
                Because this matter involved highly secretive WITSEC program of the
       US Marshal Service, it was very difficult to obtain this information and
       henceforth the delay in obtaining it. The information that no minor was
       involved in cyberspace or during personal meeting of July 10, 2000, has now
       been unearthed. The FBI Cyber Squad’s undercover operations was involved
       in cyberspace messaging with the Petitioner, and Ms. Belenkiy was their adult
       field investigator who had nothing to do with cyberspace and therefore was
       not even invited to read her own purported messages during jury trial (Dkt.
       154-2, Exhibits, Exhibit K), (Dkt. 154-1, Declaration || 38-41).
               The new discoveries of Ms. Eliina Belenkiy also confirms her
       association with the FBI Cyber Squad. Ms. Belenkiy’s identity was changed,
       using the WITSEC program after the meeting with Petitioner, for conforming
       to the requirements of the frivolous indictment and provide the Federal Trial
       Court with evidence and testimony at the trial that she was close to 15 years
       of age on July 10, 2000, the date of meeting with Petitioner. These tasks were
       undertaken because Petitioner had already met with purported minor, and an
       adult investigator, Ms. Eliina Belenkiy on July 10, 2000 for about an hour;
       therefore, FBI Cyber Squad and US Attorney’s were unable to use the
       “attempt” clause for violation of 18 USC 2422 (b) in their indictment.


   3. Error of fact #3 – Recent discoveries point out that Petitioner could not have
       persuaded, enticed or induced Ms. Belenkiy, a purported minor for lewd or
       lascivious purposes on cyberspace, as charged with in the indictment. This is
       because Petitioner had rejected or “stood up” Ms. Belenkiy and contrary to
       what was said online on cyberspace. Therefore, one cannot say with 100%

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       certainty the mens rea or intent of Petitioner was to have sexual activity with
       the adult, Ms. Belenkiy even though there was sexual conversation with this
       individual. This messaging is now discovered to the ‘FBI Cyber Squad’ Agent
       with the chat handle “doubt133” on cyberspace (“AOL”).
               The indictment that was issued on August 30, 2001 could not have been
       an attempt case because of the above two reasons,
               a) Petitioner had no mens rea or state of mind because Petitioner
       rejected the first two meetings with Ms. Belenkiy (Dkt. 154-1, Declaration ||
       9-16, and
               b) FBI Cyber Squads’ (Decoy minor) repeated requests resulting in
       Petitioner investigating the investigator, Ms. Belenkiy on July 10, 2000 (Dkt.
       154-1, Declaration || 17-26),
                Ms. Belenkiy was chosen for investigating the Petitioner and meeting
       in person with the Petitioner and therefore FBI Cyber Squad has scheduled
       three meetings with her; the first two of which were rejected by Petitioner.
       Thereafter, when Ms. Belenkiy’s change of identity was completed, she was
       used to testify against Petitioner, as a real minor at the jury trial.


       Due to the above “error of facts”, the issued indictment against Petitioner had
failed to state a crime; therefore, it was a frivolous indictment. Ironically, these facts
have been discovered from the cyberspace itself during 2015-2018. Petitioner found
the answers and solved the mystery of this case (Dkt. 154-1, Declaration || 4-8) from
cyberspace where FBI Cyber Squad Agent advertised that he was leading the Cyber
Squad in San Francisco Bay Area. It appears that these facts had already been known
to the Trial Court. The Trial Court assumed that indictment and conviction are proper
with the assumption that the “attempt” clause of 18 USC 2422 (b) applies to
Petitioner, even though it is not stated in the indictment (Dkt. 160, Order, 13:1-10),

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and therefore the FBI Cyber Squad Agent, or Ms. Belenkiy are entitled to lie and
commit perjury in the Trial Court.


       The indictment clearly states that a real minor who had not attained the age of
18 years was “persuaded, enticed and induced”. Therefore, Ms. Belenkiy cannot be
called a “victim” as the Court repeatedly states in its Order and changes her identity
again to “E”. Recent discoveries places Ms. Belenkiy as the undercover investigator
for FBI Cyber Squad in this instant case. This discovery renders the indictment
frivolous, as one that fails to state a claim against Petitioner.


   G. FBI Cyber Squad only wanted an investigation of Petitioner with Ms.
       Belenkiy without any arrest on July 10, 2000
       The reason to lie and perjure themselves in Hon. Armstrong Federal Court
was, – Petitioner could not be charged with US Prosecutors, most favored choice of
the violation of 18 USC 2422 (b), namely, the “attempt” version of the violation of
18 USC 2422 (b), because FBI Cyber Squad had themselves allowed their
investigator, Ms. Belenkiy to meet with Petitioner on July 10, 2000 for almost one
hour without charging him on that day. On July 10, 2000, the FBI Cyber Squad had
an opportunity to arrest Petitioner but they did not do so.
       The reason for FBI Cyber Squad for not arresting on July 10, 2000 at the
meeting with Ms. Belenkiy, is that the FBI Cyber Squad themselves did not think
that Petitioner had violated the attempt clause of 18 USC 2422 (b), representing by
the prior behavior of Petitioner that included
   a) not persuading Ms. Belenkiy to meet for sexual activity as proscribed in 18
       USC 2422;
   b) to reject the previous two meetings with Ms. Belenkiy;



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   c) Additionally, Petitioner did not participate in sexual conversations that
       matched the sexual conversations of the FBI Cyber Squad (Dkt. 154-2,
       Exhibits, Exhibit M), (Dkt. 154-1, Declaration || 25-26).


           FBI had to back track after the meeting on July 10, 2000 and charge
       Petitioner after one year on August 30, 2001. During the one year, between
       July 10, 2000 and August 30, 2001 the FBI Cyber Squad needed to accomplish
       many tasks that included
       a) Closing of Account “doubt133” to destruct the incriminating evidence of
           FBI Cyber Squad;
       b) changing the identity of Ms. Belenkiy;
       c) get the signatures of Petitioner on sexual content of the AOL-IM but not
           on the ones where “doubt133” accuses Petitioner for “standing up” twice
           the decoy minor.
       d) Get the indictment (Dkt. 154-2, Exhibits, Exhibit J) after lying to the Grand
           Jury for violation of 18 USC 2422 (b) without attempt clause.


   H. FBI Cyber Squad could not use their favorite “attempt” violation of 18
       USC 2422 (b) against Petitioner
       Throughout the United States Federal District Courts, the FBI Cyber Squads
have used their preferred violations of 18 USC 2422 (b) using the “attempt” clause.
There is not a single case of 18 USC 2422 (b) in the entire USA other than the instant
case, that did not use the attempt clause of 18 USC 2422 (b). This is because the
instant could never have been an “attempt” case after the meeting having taken place
between Ms. Belenkiy and Petitioner for more than one hour on July 10, 2000. Now
the recent discovery depicts the lying jurors by both Ms. Belenkiy, the decoy minor



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and Agent, Esposito to cover-up their mistakes. This makes the instant case a unique
case of 18 US 2422 (b) in the federal justice system of USA.


       It took more than one year for FBI to obtain the indictment, notable after the
FBI Cyber Squad had completed the identity change of Ms. Belenkiy and converted
her from an adult to a minor using the change of identity (Witsec) program of US
Marshall Service. In this duration, Agent, Esposito requested Petitioner for an
interview in which he took the signatures of Petitioner on parts of the sexual
conversation but not on those conversations where the FBI Cyber Squad were
begging the Petitioner to meet with their investigator, Ms. Belenkiy. (Dkt. 154-1,
Declaration || 9-12).


   I. New Discovery - Sequence of LIES in Hon. Armstrong Federal Court
a) FBI Cyber Squad Agent, Esposito concealed his undercover operations in
    cyberspace (AOL) for the instant case from the defense counsel. Recent
    discoveries demonstrate that FBI Cyber Squad Agent, Esposito had committed
    perjury and obstruction of justice in Hon. Armstrong Federal Trial Court by
    lying that he was not involved in the undercover operations for the instant case
    (Dkt. 160. Order, 5:20-28);
b) Agent Esposito also lied that he received the instant case of ‘minor Ms.
    Belenkiy’ from Detective Sharpe, Contra Costa Police Department, while hiding
    the fact that his own undercover operations was operationally using Ms.
    Belenkiy as their investigator for investigating Petitioner at the meeting on July
    10, 2000 that was scheduled in cyberspace (AOL) by the FBI Cyber Squad
    (Order, 6:1-8);




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c) Ms. Belenkiy on the other hand lied being a minor to the local Contra Costa
    Police Department including detective Sharp on July 11, 2000. (Order, 7:7-12);
    and,
d) Detective Sharp faked his call for assistance from FBI Agent Esposito because
    Ms. Belenkiy had filed a sexual assault report. However, it was Agent Esposito’s
    FBI Cyber Squad who had arranged the meeting with Petitioner including two
    previous meeting that Petitioner had rejected (“stood up”) the meetings with
    purported minor, Ms. Belenkiy that led to this drama. (Order, 2:4-16, 7:7-12).
    No charges have ever been filed for this sexual assault report by Ms. Belenkiy.
    (Dkt. 154-1, Declaration || 36-37).


   J. New Discovery - FBI Cyber Squad Agent, Esposito’s frivolous indictment


       FBI Cyber Squad Agent, Esposito obtained the frivolous indictment from
Grand Jury after fabricating the adult investigator, Ms. Belenkiy as a minor in Court.
FBI obtained this after requesting Petitioner’s signatures on the chat messages that
depicted sexual conversations but deliberately would not take signatures on specific
chat messages that show FBI Cyber Squad begging to meet with their investigator.
(See Dkt. 154-2, Exhibits, ‘Exhibit A’), (Dkt. 154-1, Declaration || 9-16).
       To obtain this indictment, it is obvious that the FBI had hidden the facts about
Petitioner wanting to meet adults and the two rejections by Petitioner to meet Ms.
Belenkiy, who was an investigator. This evidence contradicts the violation of 18
USC 2422 (b) by Petitioner. Additionally, the FBI’s own report (See Dkt. 154-2,
Exhibits, ‘Exhibit F’) depicts that Petitioner was chatting with numerous adults.


       After her identity was changed to minor using the WITSEC program, the adult
investigator, Ms. Belenkiy testified as a real minor on behalf of the FBI Cyber Squad

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conducting perjury and obstruction of justice. Therefore, the entire proceedings or
the prosecutorial process and prosecution of Petitioner at the Hon. Armstrong Trial
Court represented a false and frivolous prosecution.


       In other words, the entire criminal case was not only frivolous, it was a “hoax”
enacted in Hon. Armstrong Federal Courtroom, that also represented favoritism,
judicial bias and undue privilege from the Trial Court for the FBI Cyber Squad;
making a mockery of the entire justice system, representing a structural error in
addition to “error of facts” and egregious legal errors. This was hailed as a victory,
or a feather in the cap of FBI Cyber Squad because they had successfully obtained a
conviction against Petitioner by perjury and obstruction of justice in a Federal Court.


       The accurate information about Ms. Eliina Belenkiy (depicted as “E” in the
trial court order) is discovered by Petitioner recently, as an adult or decoy minor.
The adult investigator for FBI Cyber Squad, Ms. Eliina Belenkiy was presented to
the Trial Court and Jurors in the Jury Trial as a real minor. The new facts present
itself in this case with a basis or reasonable inference that no federal crime was
committed. Therefore, the indictment was frivolous or a “hoax” and had in reality,
failed to state a crime.


   K. Petition for Error Coram Nobis filed by Petitioner during and after the
       discoveries
       The Petition for Writ of Error Coram Nobis was first presented to Trial Court
on March 28, 2017 but no action was taken by the Court until April 9, 2019, when
it created an Order to file an amended Petition with a limitation of only 15 pages
(excluding declaration, exhibits and table of contents), (see Dkt. 152, Case: 01-cr-
40144 SBA) including a scheduling order including a hearing on June 12, 2019

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which was vacated by the Judge. This amended Petition (Dkt. 154) was filed on
April 26, 2019 with the following recent discoveries with evidence:


   1. The entity “FBI Cyber Squad” operated in San Francisco Bay area during
       June-July 2000. This entity was led by the same FBI Agent, Charles
       (“Chuck”) J. Esposito, who was instrumental in obtaining an indictment
       against Petitioner after Agent, Esposito requested that Petitioner provide him
       an interview. Petitioner, then provided Agent Esposito a voluntary interview
       wherein Petitioner signed 2 pieces of paper for Agent, Esposito that were
       actual chat messages of Petitioner with someone “Doubt133” and which was
       recently discovered to be Agent Esposito himself, who was chatting with
       Petitioner, as almost 15-year-old minor. This is because, it was not known at
       the time or was concealed during the Trial Court proceedings and the Jury
       Trial that Agent Esposito was himself leading the entity, FBI Cyber Squad’.


   2. FBI Cyber Squad Agent Esposito falsely stated or perjured in the Trial Court
       that it was not him who was conversing using instant messages, but was a real
       minor; another perjury and obstruction of justice. Recent discoveries prove
       with preponderance of evidence, that the FBI Cyber Squad did not have any
       real minor to present in this case, on which the indictment was alleged against
       the Petitioner for an “act of persuasion” against someone who has not attained
       18 years of age (see Dkt. 1 as Exhibit A attached). FBI Cyber had created a
       fictitious minor out of an adult investigator, Ms. Eliina Belenkiy, whose
       identity was changed (two i’s in her first name depict this fact, including
       numerous recently discovered facts).


   3. This adult investigator was depicted to the local county police, this trial court,

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       the defense team, the prosecutors and even the trial jury after the change of
       identity, as a real minor. Recently discovered facts shows that investigator,
       Ms. Eliina Belenkiy and her family were relocated to Gainesville, VA by the
       US Marshal Service after her identity was changed for the purposes of
       providing a false testimony in the Trial Court and to the Jurors (on September
       19, 2002). Ms. Belenkiy was not even conversing online with Petitioner or
       was persuaded on cyberspace by Petitioner. This act of online conversation
       was accomplished by FBI Cyber Squad who also requested Petitioner to meet
       with Ms. Belenkiy. Petitioner has “stood up” or rejected meeting with her
       twice. These meetings were also recently discovered to have been scheduled
       by the FBI Cyber Squad on cyberspace for Ms. Belenkiy, their investigator
       but presented in the Trial Court as real minor, after a change of identity was
       accomplished, sometime in 2001 (exact date is unknown). As an excuse for
       the identity change and presenting to trial jury, the trial court has come up
       with another excuse, that, ‘Petitioner could have been charged with “attempt”
       violation’. However, as explained above, this was an impossibility.


   4. The statute, 18 USC 2422(b) statute was the basis on which FBI had created
       the indictment (Dkt. 1) with the help of Petitioner’s signature on a document
       of chat messages, admitting that he did chat with the purported minor, who he
       thought was not a minor, and additionally met her later for about one hour
       after having rejected to meet with her twice before. This meeting was for
       investigating purposes only. However, recent discoveries prove that Petitioner
       was actually investigating Ms. Belenkiy, who was a real investigator for the
       newly discovered entity, the FBI Cyber Squad led by Agent, Esposito.




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       Circuit Rule 10 (c) - Pursuant to Circuit Rule, 10 (c), “the statement of
evidence must be served on the appellee, who may serve objections or proposed
amendments within 14 days after being served. The statement and any objections or
proposed amendments must then be submitted to the district court for settlement and
approval. As settled and approved, the statement must be included by the district
clerk in the record on appeal”.




        Dated: July 19, 2019
                                                             /s/ Rakesh Dhingra
                                                            RAKESH DHINGRA
                                                            Petitioner-Appellant




                     CERTIFICATE OF TRANSCRIPT ORDER



       I hereby testify that the transcripts on file, Docket Nos. 62, 65, 67 and 71 are
designated as part of the record on appeal, pursuant to the Transcript Designation
Form, filed on July 11, 2019 as Dkt.166, under District Court Case No: 01-cr-40144
SBA. NO TRANSCRIPTS WILL BE ORDERED, as per Circuit Rule 10 (b) (1) (B)
and 10 (b) (3) (A).




Date: July 19, 2019                                             /s/ Rakesh Dhingra
                                                                RAKESH DHINGRA
                                                                  Petitioner - Appellant




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                                  CERTIFICATE OF SERVICE



       I hereby certify that on July 19, 2019, an electronic PDF of APPELLANT’S
STATEMENT OF EVIDENCE and SUPPLEMENTAL STATEMENT OF ISSUES
under circuit rule 10 (c) and 10(b)(3)(A) respectively and a CERTIFICATE OF
TRANSCRIPT ORDER, for appeal of order denying PETITION for Writ of ERROR
CORAM NOBIS (Appeal No: 19-16323) was uploaded to the Court’s CM/ECF
system, which will automatically generate and send by electronic mail a Notice of
Docket Activity to all registered attorneys and parties participating in the case. Such
notice constitutes service on the registered attorneys and parties.


Date: July 19, 2019                                           /s/ Rakesh Dhingra
                                                              RAKESH DHINGRA
                                                                Petitioner - Appellant




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